Case 1:13-cv-22433-MGC Document 23 Entered on FLSD Docket 11/25/2013 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 13-22433-Civ-COOKE/TURNOFF

  YAILYN BENITEZ,

          Plaintiff,

  vs.

  ALLIANCEONE RECEIVABLES
  MANAGEMENT, INC.,

        Defendant.
  ________________________________/

                                     ORDER OF DISMISSAL

          THIS CASE has been DISMISSED with prejudice pursuant to Federal Rule of Civil

  Procedure 41(a)(1)(A)(ii), with each party to bear her or its own attorneys’ fees and costs, except

  as otherwise agreed by the parties. See Joint Stipulation for Dismissal with Prejudice, ECF No.

  22. The Clerk shall CLOSE this case. All pending motions, if any, are DENIED as moot.

          DONE and ORDERED in chambers, at Miami, Florida, this 25th day of November

  2013.




  Copies furnished to:
  William C. Turnoff, U.S. Magistrate Judge
  Counsel of record
